                 UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION


                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly situated,
                            )
                            )
              Plaintiff,    )                          Case No. 1:15-cv-00109-MR
  v.                        )
                            )
AETNA INC., AETNA LIFE      )
INSURANCE COMPANY, and      )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )
                            )

                           OPTUM’S STATUS REPORT

      In accordance with the Court’s November 7, 2024 Order, Optum submits the

following status report:

            As of November 6, 2024, Optum understood Class Counsel to have

             agreed to certain material terms of a global class settlement including a full

             release co-extensive with the class period certified by the Court;

            On December 2, Optum learned for the first time that Class Counsel did

             not agree to a release co-extensive with the certified class period;

            Accordingly, Optum does not join the proposed settlement between

             Aetna and the classes.




      Case 1:15-cv-00109-MR         Document 314     Filed 12/06/24    Page 1 of 4
      Optum stands ready to proceed to a bench trial and will work with Class Counsel

to establish proposed deadlines for submitting pre-trial materials. As it stands, Class

Counsel has not yet provided class members notice and an opportunity to opt out of

the classes before trial. That process—which could take months—would need to play

out before any bench trial.

      Optum also remains prepared to file a short, targeted summary judgment motion

focused on ERISA’s tracing requirement—as the Fourth Circuit recently explained in

Rose v. PSA Airlines, Inc., 80 F.4th 488 (4th Cir. 2023)—which disposes of the sole

remaining claim against Optum. Permitting a limited summary judgment motion

focused on ERISA’s tracing requirement will preserve both the Court’s and the parties’

resources and would allow for the efficient resolution of this case. ERISA’s tracing

requirement applies to Peters’s only remaining monetary claim against Optum (see Harris

Trust & Sav. Bank v. Salomon Smith Barney, Inc., 530 U.S. 238, 241 (2000)) and requires

each plaintiff to (1) “identify certain property or money ‘belonging in good conscience’

to him” and (2) clearly trace that property “to particular funds or property in the

defendant’s possession” (Rose, 80 F.4th at 502 (internal citation omitted)). There is no

dispute that no such evidence exists here. Indeed, Peters claimed all along that she was

not required to prove or provide evidence of tracing.

      Optum is prepared to move for summary judgment on that issue and could do

so within two weeks. Accordingly, Optum respectfully requests that the Court allow it



                                           2
      Case 1:15-cv-00109-MR       Document 314      Filed 12/06/24   Page 2 of 4
to file a ten-page motion for summary judgment by December 20, 2024. Optum has

conferred with Class Counsel about this request, and Class Counsel opposes.



Dated: December 6, 2024.


                                             Respectfully submitted,


                                             /s/ Brian D. Boone
                                             Brian D. Boone
                                              NC Bar No. 38910
                                             Michael R. Hoernlein
                                              NC Bar No. 40419
                                             Brandon C.E. Springer
                                              NC Bar No. 54523
                                             ALSTON & BIRD LLP
                                             1120 S. Tryon Street, Suite 300
                                             Charlotte, NC 28203
                                             (704) 444-1000
                                             (704) 444-1111 (fax)
                                             brian.boone@alston.com
                                             michael.hoernlein@alston.com
                                             brandon.springer@alston.com

                                             Counsel for Defendant
                                             OptumHealth Care Solutions, Inc.




                                         3
      Case 1:15-cv-00109-MR      Document 314     Filed 12/06/24    Page 3 of 4
                          CERTIFICATE OF SERVICE
      I hereby certify that on this 6th day of December 2024, a copy of the foregoing

was electronically filed with the clerk of the court of the United States District Court,

Western District of North Carolina, Asheville Division, and will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                               /s/ Brian D. Boone
                                               Brian D. Boone
                                                 NC Bar No. 38910

                                               Counsel for Defendant
                                               OptumHealth Care Solutions, Inc.




      Case 1:15-cv-00109-MR       Document 314      Filed 12/06/24    Page 4 of 4
